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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 DAVID DYKEHOUSE, et al., on behalf of
 themselves and all others similarly situated,

         Plaintiffs,                                                   Case No. 1:18-cv-1225

 v.                                                                    HON. JANET T. NEFF

 3M COMPANY, et al.,

         Defendants.
 ____________________________/


                                              ORDER

       The Court conducted a Pre-Motion Conference with counsel on May 3, 2019 concerning

Defendants’ proposed Motions to Dismiss (ECF Nos. 21, 24). Having reviewed Plaintiffs’ nine-

count Complaint, the relief requested, and the parties’ pre-motion filings, the Court determines the

proposed motions are premature. Before proceeding with motion briefing, actions are necessary

to clarify the causes of action and defenses. Plaintiffs, in particular, shall make a close examination

of the claims alleged and shall reconsider the viability of the claims and relief sought based on the

case circumstances and Michigan law. The parties shall also confer as appropriate with regard to

the issues raised in the pre-motion conference filings and shall maintain a dialogue for ongoing

resolution of matters in advance of presentation to the Court.

       Therefore:

       IT IS HEREBY ORDERED that briefing on the proposed motions to dismiss is DENIED

WITHOUT PREJUDICE as premature.
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